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IN 'I`HE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

PARTNERS HEALTHCARE SOLUTIONS )
HOLDINGS, L.P., )
)
Plaintiff, )
) C.A. No. 13-1767-RGA

v. )

) REDACTED PUBLIC VERISON
UNIVERSAL AMERICAN CORP., )
)
Defendant. )
)

DECLARATION OF LINDA C. GOLDSTEIN IN SUPPORT OF
DEFENDANT UNIVERSAL AMERICAN CORP.’S ANSWERING BRIEF IN
OPPOSITION TO PLAINTIFF’S MOTION TO REMAND ACTION TO STATE COURT `

I, Linda C. Goldstein, declare as follows:

1. I am a partner in the law firm cf Dechert LLP, counsel for Universal American
Corp. (“Universal”) in this action and in Universal Amerz`can Corp. v. Parmers Healrhcare
Solutions Holdings, L.P., et ai., C.A. No. l3-174]-RGA. I have been admitted to practice pro
hac vice in both matters This declaraticn, Which is based on personal knowledge, is submitted
in opposition to Plaintiff’ s Motion to Remand Action to State Court.

2. The complaint in this action refers to a letter from Universal that “outlined
[Um`versal]’s ‘significant claims’ against APSLP and requested a confidential meeting to discuss
its incestigation and claims.” (D.I. l at EX. l 1[53.)

3. A true and correct copy of that letter, dated March l, 2013, from Andrew J.
Levander of Dechert LLP to Margaret A. Gibson of Kirkland & Ellis LLP is attached as

Exhibit 1.

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I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge, information and belief. Executed on December 16, 2013 at New York, New York.

Linda c. cold 'ein

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EXHIBIT 1

 

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March l, 2013

BY EMA|L AND FACSIMILE

Margaret A. Gibson, Esq.
Kirkland &, Ellis LLP
300 North LaSalle
Chicago, IL 60654

Re: Acquisition of Partners Healthcare Soluticns, lnc. by Universal American Corp. (“UAM”)
Dear Ms. Gibson:

We write to request a meeting with G'I`CR to discuss UAM’s significant claims against Partners
Healthcare Solutions Holdings, L.P. (“APSLP”) and GTCR arising from the acquisition
referenced above.

Attached is a notice of UAM’s request for indemnification The notice describes the muititude of
breaches of the representations and warranties and covenants made in the Merger Agreement, the
Company Disclosure Letter, and the APS Of`i`ioer’s Certificate.

More importantly, UAM was defrauded Simply stated, had UAM known the true facts that
existed at the time of signing and closing, it would not have signed or closed. Arnong other
things, UAM was misled about APS’s relationships with its customers, including its largest
customer, UAM was misled about APS’s compliance with
its contracts and with government reguiations. UAM was misled about the nature of APS’s
ownership rights in its key intellectual property,-UAM was misled about the profits that APS
would earn in 2012 from its existing customers and the likelihood that any of the prospects in a
wildiy exaggerated “pipeline” of new business would result in revenues or profits in 2012.

Our preliminary investigation has already uncovered unequivocal evidence that many of these
representations were knowingly false. The sheer number of material misrepresentations, coupled
with the significant deterioration in the APS business that purportedly occurred immediately after
closing, suggests a deliberate campaign to camouflage the weakness of APS’s business so that
GTCR could unload APS onto UAM’s hands. Under federai securities law, which will govern
UAM’s ciaims, GTCR wiil be liable for APS’s misrepresentations as a control person.

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Dech e rt Margaret A. Gibson, Esq,
March 1, 2013

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UAM paid more than $220 million for APS, and the damages suffered by UAM far exceed the
indemnification caps in the Merger Agreement. APS is now worth a small fraction of the
purchase price as a result of the business lost and the business not gained.

While UAM is fuin prepared to file its claims in court, UAM nonetheless believes that rational
businesspersons who value their time and reputations ought to attempt to resolve their disputes
without resorting to litigation Please contact me at your earliest convenience so that we may
arrange for a confidential meeting with principals in which we will be prepared to provide you
with further details regarding our investigation and UAM’s claims.

Sincerely,

Andrew .i. Levander

Enclosure

cc: David Katz, GTCR
Richard Barasch, UAM

Tony Wolk, Esq. UAM
Linda C. Goldstein, Esq.

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CERTIFICATE OF SERVICE

l hereby certify that on Decernber 16, 20]3, I caused true and correct copies of the

foregoing document to be filed with the Clerk of Court using CM/ECF, which will send

notification of such filing to the following, and that a copy of the foregoing document has also

been served by electronic mail to the following:

J on E. Abrarnczyk

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Reed S. Oslan

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/s/Blake Rohrbacher
Blake Rohrbacher (#4750)
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